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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Grand Canyon University,                          No. CV-21-00177-PHX-SRB
10                  Plaintiff,                         ORDER
11   v.
12   Miguel Cardona, et al.,
13                  Defendants.
14
15         The Court has considered Plaintiff Grand Canyon University’s Motion to File Select
16   Exhibits Under Seal pursuant to LRCiv 5.6, and for good cause shown therein,
17         IT IS HEREBY ORDERED that the Motion is GRANTED and the unredacted
18   copies of the following Exhibits to GCU’s Motion for Summary Judgment (ECF Doc. 59)
19   shall be filed under seal: ECF Doc. Nos. 59-6, 59-8, 59-9, 59-10, 59-11, 59-12, 59-13, 59-
20   14, 59-15, 59-16, 59-18, 59-19, 59-20, 59-21, 59-27, 59-28, 59-37, 59-39, 59-40, 59-42, 59-
21   43, 59-58, 59-59, 59-62.
22
23                Dated this 9th day of June, 2022.
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